Case: 1:19-cv-03077 Document #: 76 Filed: 07/25/19 Page 1 of 3 PagelD #:6033

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

CREATIVE IMPACT INC.;

CREATIVE IMPACT (HONG KONG) LIMITED;

ZURU LLC; and

ZURU INC.,

Plaintiffs,

V.

THE INDIVIDUALS, CORPORATIONS,

LIMITED LIABILITY COMPANIES,

PARTNERSHIPS AND UNINCORPORATED

ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

Defendants.

ee NN Oe ee ae ae

EASTERN DIVISION

Case No.: 19-cv-3077

Judge Charles R. Norgle

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

25
67
12
82
101
214
227
aoe
269
284

Defendant

7season

baobaol

Barney

Best Friend 888
BM0618
Easonstore
everbuyinggo
eyebuydirectgets

Fulgurous Tech Co. Ltd.

girls & boys
Case: 1:19-cv-03077 Document #: 76 Filed: 07/25/19 Page 2 of 3 PagelD #:6033

The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.

Respectfully submitted,

Dated: July 25, 2019 By: — s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
William B. Kalbac (Bar No. 6301771)
Hughes Socol Piers Resnick & Dym, Ltd.
Three First National Plaza
70 W. Madison Street, Suite 4000
Chicago, Illinois 60602
(312) 580-0100 Telephone

mhierl@hsplegal.com

Attorneys for Plaintiffs

CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
Case: 1:19-cv-03077 Document #: 76 Filed: 07/25/19 Page 3 of 3 PagelD #:6033

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 25, 2019.

s/Michael A. Hierl

 
